Case:
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           United States Court of Appeals
                for the Fifth Circuit
                                 ___________

                                  No. 23-30516
                                 ___________

   In re Taxotere (Docetaxel) Products Liability
   Litigation

    ____________________________

   Blynda Kay Smith,

                                                           Plaintiff—Appellant,

                                      versus

   Sanofi-Aventis, U.S., L.L.C.,

                                             Defendant—Appellee.
                   ______________________________

                  Appeal from the United States District Court
                     for the Eastern District of Louisiana
                           USDC No. 2:16-MD-2740
                            USDC No. 2:17-CV-617
                  ______________________________

   ORDER:
          The Court of Appeals understands the record in this case is extremely
   voluminous. The court is concerned transporting and working with a record
   of this enormity would unnecessarily delay the resolution of this appeal.
          Therefore, the parties are directed to assist the court by designating
   those portions of the record relevant to the pending appeal. The parties
Case:
Case 23-30516    Document: 00516894327
      2:16-md-02740-JTM-MBN              Page:Filed
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   should attempt to agree on which documents should be included and should
   file a joint designation. If there are documents the plaintiff(s) believe should
   be included but the defendant(s) do not agree to, the plaintiff(s) may file a
   supplemental designation, and vice versa.
          The parties are instructed to file the joint designation and (only if
   necessary) supplemental designations as soon as practicable but in no
   instance later than 14 days after the date of this order with the clerk of the
   District Court.
          The District Court will construct the Record on Appeal based on the
   designation of the parties and supplemental designations if necessary.
                                 LYLE W. CAYCE, CLERK
                                 United States Court of Appeals
                                      for the Fifth Circuit
                                      /s/ Lyle W. Cayce

                 ENTERED AT THE DIRECTION OF THE COURT




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